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                                          AFFIDAVIT


1) AFFIANT/AGENT. I, Nathan Adams, a Border Patrol Agent of the United States Border
   Patrol, Customs and Border Protection, have been employed by the USBP/CBP for
   approximately eighteen years and am currently assigned to the United States Border Patrol
   Grand Forks Sector Prosecution Unit.

   Your affiant has reason to believe that SANCHEZ-Perez, Jose Alfredo, aka: SANCHEZ-
   Perez, Fredi (DOB: XX/XX/1976, COC: Mexico), illegally reentered the United States after
   being removed in violation of 8 U.S.C. § 1326(a).

2) INITIAL ENCOUNTER. On January 7, 2025, at approximately 5:35 PM, Grand Forks
   Sector Dispatch was contacted by Sergeant Halonen (Badge #1108) of the Watford City
   Police Department (WCPD) for assistance of one subject encountered during a traffic
   accident investigation. Supervisory Border Patrol Agent (SBPA) Higgs contacted the officer
   via cell phone. The officer stated that she was investigating a minor traffic accident near the
   200 block of 6th Avenue NW, Watford City, ND. The driver of the vehicle, identified as
   Jose SANCHEZ, presented a Mexican identification document. The officer also advised that
   she had conducted a field sobriety test on SANCHEZ and that he had passed. The officer
   also advised that she would be issuing SANCHEZ several traffic citations.

   SBPA Higgs conducted record checks based on the subject’s biographical
   information. Record checks indicated that SANCHEZ had both immigration and criminal
   histories. No records were found to indicate that SANCHEZ has any current immigration
   documents allowing him to reside, pass through, or remain in the United States legally.

   Based on the record checks, SBPA Higgs requested that SANCHEZ be detained and
   requested that the officer transport the subject to the McKenzie County jail until an agent
   could arrive to take SANCHEZ into custody. As SBPA Higgs was travelling to Watford
   City, he was advised by the officer that due to SANCHEZ’s involvement in a traffic accident,
   the jail would not take custody of SANCHEZ until he had been medically cleared. As such,
   WCPD transported SANCHEZ to the McKenzie County Hospital in Watford City for further
   evaluation.

   At approximately 7:30 PM, SBPA Higgs arrived at the hospital and met with WCPD officers
   and was updated on the situation. The officers stated that SANCHEZ would likely be
   medically cleared but were awaiting some lab results. While awaiting the lab results, SBPA
   Higgs spoke with SANCHEZ to conduct an immigration inspection. SBPA Higgs identified
   himself as a United States Border Patrol Agent and questioned SANCHEZ as to his
   citizenship. SANCHEZ admitted to being a citizen of Mexico. SANCHEZ claimed he had
   immigration paperwork pending; however, no current immigration documents or proceedings
   could be found that would allow him to live, work, or remain in the United States
   legally. SANCHEZ also admitted he had been deported previously. When questioned about

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   his last illegal entry into the United States, SANCHEZ stated it was over 10 years ago and
   that he had been living in Arizona up until four months ago when he moved to Watford City
   to work as a painter. SANCHEZ claimed to have no medical problems and that he does not
   take any prescription medication.

   At approximately 9:00 PM, the doctor on duty medically cleared SANCHEZ for
   travel. SBPA Higgs placed SANCHEZ into Border Patrol custody. SANCHEZ was then
   transported to the Portal Border Patrol Station for processing.

3) POST ARREST INVESTIGATION. Upon arriving at the Portal Border Patrol Station,
   SANCHEZ was enrolled into NGI/IDENT, a computerized fingerprint identification system.
   The NGI/IDENT results returned with immigration and criminal history showing that the
   subject had been removed two (2) prior times.

   SANCHEZ is a citizen and national of Mexico.

4) IMMIGRATION HISTORY: SANCHEZ has two (2) prior removals.

   1. Arrest Date:          February 26, 2009
      Arresting Agency:     CBP/OFO Nogales, AZ
      Charge:               INA 212(a)(6)(C)(i) – Fraud or Willful Misrepresentation
      Disposition:          Expedited Removal, removed to Mexico at the Nogales, AZ Port
                            of Entry on May 13, 2009.

   2. Arrest Date:          October 6, 2010
      Arresting Agency:     ICE Phoenix, AZ
      Charge:               INA 212(a)(6)(C)(i) – Fraud or Willful Misrepresentation
      Disposition:          Reinstatement, removed to Mexico at the Nogales, AZ Port of
                            Entry on October 25, 2010.

5) CRIMINAL RECORD: SANCHEZ has three (3) criminal convictions.

   1. Arrest Date:          August 24, 2002
      Arresting Agency:     DPS AZ
      Charge:               Extreme DUI-BAC .15 or more
      Disposition:          Guilty of misdemeanor DUI-BAC .15, sentenced to 10 days in jail.

   2. Arrest Date:          October 12, 2003
      Arresting Agency:     Mesa, AZ Police Department
      Charge:               Extreme DUI-BAC .15 or more
      Disposition:          Guilty of misdemeanor DUI-BAC .15, sentenced to 120 days in
                            jail.

   3. Arrest Date:          February 26, 2009
      Arresting Agency:     CBP/OFO Nogales, AZ

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       Charge:               Title 18, USC 1028(a)(4) AND (b)(6). Fraud and related activity in
                             connection with ID documents.
       Disposition:          Convicted on March 3, 2009 – sentenced to 75 days in jail.

6) MIRANDA RIGHTS/CONSULAR NOTIFICATION. On January 8, 2025, BPA Kluczek
   witnessed by BPA Owen notified SANCHEZ of his Miranda Rights per Service Form I-214.
   SANCHEZ acknowledged his rights by signing the Service Form I-214. SANCHEZ was not
   willing to answer questions without an attorney present.

   BPA Kluczek notified SANCHEZ of his right to consular communication; SANCHEZ
   declined to speak with a consular official.

   No record could be found to indicate that SANCHEZ has ever applied for or been granted
   permission to reenter the United States by the Attorney General or by his successor, the
   Secretary of the Department of Homeland Security.


   In my experience, the above facts constitute a violation of 8 U.S.C. § 1326(a).

   The foregoing is true and correct to the best of my knowledge and belief.




                                                    ________________________________
                                                    Nathan Adams
                                                    Border Patrol Agent



Signed and sworn by reliable electronic means on 10th day of January 2025.



                                                   __________________________________
                                                    Alice R. Senechal
                                                    United States Magistrate Judge




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